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06                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
07                                     AT SEATTLE

08 UNITED STATES OF AMERICA,              )
                                          )            CASE NO. CR13-330-JLR
09         Plaintiff,                     )
                                          )
10         v.                             )
                                          )            DETENTION ORDER
11   KOQUE MARSHALL FOSTER,               )
                                          )
12         Defendant.                     )
     ____________________________________ )
13

14 Offense charged:        Bank Fraud

15 Date of Detention Hearing:     November 26, 2013.

16          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and

17 based upon the factual findings and statement of reasons for detention hereafter set forth, finds

18 that no condition or combination of conditions which defendant can meet will reasonably

19 assure the appearance of defendant as required and the safety of other persons and the

20 community.

21         FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

22          1.     Defendant comes before this Court pursuant to a Writ of Habeas Corpus ad



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01 Prosequendum, having been previously detained at the Washington Corrections Center in

02 Shelton, Washington.

03            2.      Defendant would be returned to the custody of the State of Washington if not

04 detained by this Court. Therefore, defendant does not contest detention at this time.

05            3.      There does not appear to be any condition or combination of conditions that will

06 reasonably assure the defendant’s appearance at future Court hearings while addressing the

07 danger to other persons or the community.

08 It is therefore ORDERED:

09         1. Defendant shall be detained pending trial and committed to the custody of the Attorney

10            General for confinement in a correction facility separate, to the extent practicable, from

11            persons awaiting or serving sentences or being held in custody pending appeal;

12         2. Defendant shall be afforded reasonable opportunity for private consultation with

13            counsel;

14         3. On order of the United States or on request of an attorney for the Government, the

15            person in charge of the corrections facility in which defendant is confined shall deliver

16            the defendant to a United States Marshal for the purpose of an appearance in connection

17            with a court proceeding; and

18         4. The Clerk shall direct copies of this Order to counsel for the United States, to counsel

19            for the defendant, to the United States Marshal, and to the United State Pretrial Services

20            Officer.

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01       DATED this 26th day of November, 2013.

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03                                                A
                                                  Mary Alice Theiler
04                                                Chief United States Magistrate Judge

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